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                              UNITED STATES DISTRICT COURT

                             NORTHERN DISTRICT OF CALIFORNIA


 DAN ADKINS, ET AL.,
                                                    Case No. 16-cv-05969-VC
                Plaintiff,

         v.                                         ORDER OF DISMISSAL

 COMCAST CORPORATION, et al.,
                Defendant.




       The Court has been advised by way of email from the parties on May 3, 2018 that the

parties have resolved this case. Therefore, it is ORDERED that this case is DISMISSED without

prejudice. All deadlines and hearings in the case are vacated. Any pending motions are moot.

       The parties retain the right to request to reinstate this action within 60 days of this Order

if the settlement is not consummated. If a request to reinstate the case is not filed and served on

opposing counsel within 60 days, the dismissal will be with prejudice.
       IT IS SO ORDERED.

Dated: May 7, 2018
                                                 ______________________________________
                                                 VINCE CHHABRIA
                                                 United States District Judge
